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 4                                   UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                       ***
 7    UNITED STATES OF AMERICA,                                      Case No. 2:15-cr-00255-JAD-PAL
 8                                               Plaintiff,                        ORDER
              v.
 9                                                                        (Subst Atty – Dkt. #29)
      ENGSTROM PAUL,
10
                                             Defendant.
11

12            This matter is before the court on Defendant’s Substitution of Attorney (Dkt. #29) filed
13    November 3, 2015. Kathleen Bliss of The Federal Defenders Law Group, LLC seeks leave to be
14    substituted in the place and stead of Heidi A. Ojeda, Federal Public Defender for Defendant
15    Engstrom Paul. LR IA 10-6 provides that the signature of an attorney to substitute in a case
16    “constitutes an express acceptance of all dates then set for pretrial proceedings, for trial or
17    hearing, by the discovery plan, or in any court order.” LR IA 10-6(d) also provides that the
18    substitution of an attorney “shall not alone be reason for delay of pretrial proceedings, discovery,
19    the trial, or any hearing in this case.”
20            Having reviewed and considered the matter, and good cause appearing,
21            IT IS ORDERED that:
22            1. The Substitution of Attorney (Dkt. #29) is APPROVED.
23            2. Kathleen Bliss of The Federal Defenders Law Group, LLC is substituted in the place
24                 of Heidi J. Ojeda, Federal Public Defender for Defendant Engstrom Paul, subject to
25                 the provisions of LR IA 10-6(c) and (d).
26            DATED this 9th day of November, 2015.
27
                                                                  PEGGY A. LEEN
28                                                                UNITED STATES MAGISTRATE JUDGE
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